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      In The United States Court of Federal Claims
                                            No. 09-814C

                                  (Filed: September 23, 2011)
                                          __________

 PEW FOREST PRODUCTS,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                              Defendant.

                                             _________

                                              ORDER
                                             _________

        Oral argument on the parties’ motion for summary judgment will be held in this case on
Thursday, October 27, 2011, at 2:00 p.m. (EST). Chambers will contact the parties shortly
before the scheduled argument time.

       IT IS SO ORDERED.



                                                         s/ Francis M. Allegra
                                                         Francis M. Allegra
                                                         Judge
